    Emanwel J. Turnbull                                                    The Holland Law Firm, P.C.
    Attorney at Law                                                      914 Bay Ridge Road, Suite 230
    eturnbull@hollandlawfirm.com                                                 Annapolis, MD 21403


                                               May 7, 2019

Chambers of Theodore Chuang, U.S. District Judge
U.S. Courthouse
6500 Cherrywood Lane
Greenbelt, MD 20770


RE:             JACKSON V. JTM CAPITAL MANAGEMENT, LLC, ET AL.
CASE NO:        8:19-CV-01009-TDC
                PLAINTIFF’S NOTICE OF INTENT TO FILE MOTION PURSUANT TO
                CASE MANAGEMENT ORDER (ECF 6)

        I. Motion to be Filed
      Plaintiff intends to file a motion to strike Defendant JTM Capital Management,
LLC (“JTM”)’s 2nd, 3rd, 5th and 6th affirmative defenses, from its amended Answer (ECF
15) on the grounds that they are either inadequately pleaded or legally insufficient
defenses.

        II. Pre-Motion Meet & Confer
       Plaintiff’s counsel emailed JTM’s counsel on 4/11/2019 and 4/18/2019. As a result
JTM filed an amended Answer, ECF 15. Plaintiff’s counsel again emailed JTM’s counsel
raising the inadequacy of the amended defenses on 4/26/2019 but has received no
response.

      III. The Law
       Motions to strike are generally disfavored, but have been granted in this District
where defenses were pled in boilerplate fashion, or where the defenses were insufficient
as a matter of law.1 The pleading standard for affirmative defenses is generally held to be
such as is sufficient to provide fair notice.



1See, e.g. Ulyssix Techs., Inc. v. Orbital Network Eng'g, Inc., No. ELH–10–02091, 2011 WL 631145, at *14
(D.Md. Feb. 11, 2011) (Hollander, J., striking affirmative defenses unsupported by facts); Topline Solutions,
Inc. v. Sandler Sys., Inc., No. L–09–3102, 2010 WL 2998836, at *1 (D.Md. July 27, 2010) (Legg, J., striking
affirmative defenses unsupported by facts); Malibu Media, LLC v. Doe, No. 13-cv-512-RWT, 2015 WL
1402286 (D. Md. Mar. 25, 2015)(Titus, J., striking insufficient defenses); Alston v. Equifax Information
Services, LLC, No. GLR-13-934, 2014 WL 580148 (D. Md. Feb. 11, 2014)(Russell, J., striking unsupported
defenses); Alston v. Transunion, 2017 WL 464369 (D. Md. Feb. 1, 2017)(Hazel, J. , striking unsupported
defenses).

                                                     1
        In addition, affirmative defenses may be stricken if they “might confuse the issues
in the case and would not, under the facts alleged, constitute a valid defense to the action.”
Waste Management Holdings, Inc. v. Gilmore, 252 F.3d 316 (4th Cir. 2001).

       IV.    The Defenses
       The 2 , 3rd, 5th and 6th Affirmative defenses are purely speculative and
              nd

unsupported by any facts. JTM merely alleges that it “may obtain information through
discovery” that supports these defenses and is “unsure” whether Plaintiff’s claim is within
the statute of limitations. These defenses do not “under the facts alleged, constitute []
valid defense[s]” because there are no facts which support their existence.


       Plaintiff cannot tell what facts are supposed to support these defenses – it appears
that no facts actually support them and they are raised in a purely speculative manner.

        These pleading defects are prejudicial to Plaintiff because they would require
plaintiff to waste discovery requests and attorney time in an attempt to discover the
underlying facts, or ensure that Plaintiff receives notice of the underlying facts, and might
ultimately require a motion for partial summary judgment to defeat defenses that turn
out to lack factual support. While some of this prejudice could be cured by measures other
than striking the defenses, such as allowing additional interrogatories and requests for
production, some prejudice would remain – the expenditure of time and effort on these
issues – and a much simpler solution would be for Defendant to sufficiently plead the
defenses it actually has and remove defenses that are not supported by fact or law. In the
event that new facts are discovered that do support these affirmative defenses, JTM would
have the opportunity to move to amend its answer to raise these defenses, properly
pleaded.

       Respectfully submitted,

/s/ Emanwel J. Turnbull
Emanwel J. Turnbull                               Ingmar Goldson
Fed. Bar No. 19674                                igoldson@goldsonlawoffice.com
The Holland Law Firm, P.C.                        THE GOLDSON LAW OFFICE
P.O. Box 6268                                     1734 Elton Road, Suite 210
Annapolis, MD 21401                               Silver Spring, MD 20903
Telephone: (410) 280-6133                         Tel. (240) 780-8829
Facsimile: (410) 280-8650                         Fax. (877) 397-0707
eturnbull@hollandlawfirm.com

                                                  Counsel for Plaintiff




                                              2
                                   CERTIFICATE OF SERVICE
        I hereby certify that I served the foregoing when filed through the Court’s
CM/ECF System to defendant JTM Capital Management, LLC’s counsel of record, and
by first lass mail, postage prepaid to:

      Weinberg Mediation Group, LLC
      By: Jerry Verhagen
      3380 Sheridan Drive, Ste. 133
      Amherst, NY 14226

      Royal Asset Management, Inc.
      By: Capital Administrations, LLC
      1712 Pioneer Avenue, Ste. 115
      Cheyenne, WY 82001

      Defendants

                                               _____/s/Emanwel J. Turnbull____
                                                   EMANWEL J. TURNBULL




                                          3
